
In re Johnson, Roddrick; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Caddo, Shreveport City Court, Nos. 2005-TS14699, 2005-TS27361, 2003-TC43574, 2004-TS21502, 2005-TS14700, 2005-DW14715; to the Court of Appeal, Second Circuit, No. 47,107-KH.
Relator represents that the district court has failed to act timely on a motion to quash filed on or about May 31, 2011. If relator’s representation is correct, the district court is ordered to accept, file and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
